                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


COMMONWEALTH OF PENNSYLVANIA and
STATE OF NEW JERSEY,

                            Plaintiffs,

                     v.                                  No. 2:17-cv-04540-WB

DONALD J. TRUMP, in his official capacity as
President of the United States; ALEX M. AZAR II, in
his official capacity as Secretary of Health and Human
Services; UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; STEVEN T.
MNUCHIN, in his official capacity as Secretary of the
Treasury; UNITED STATES DEPARTMENT OF THE
TREASURY; EUGENE SCALIA, in his official
capacity as Secretary of Labor; UNITED STATES
DEPARTMENT OF LABOR; and UNITED STATES
OF AMERICA.

                            Defendants.


                     MEMORANDUM OF LAW IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

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                                                                      v
                                       INTRODUCTION

       Under the Women’s Health Amendment to the Affordable Care Act, the Health

Resources and Services Administration (HRSA), a component of the Department of Health and

Human Services, is charged with creating guidelines that define the preventive services that are

necessary for women’s health. 42 U.S.C. § 300gg-13(a)(4). Since HRSA released the first

version of the Women’s Preventive Services Guidelines (“Guidelines”) in 2011, they have

included all “Contraceptive methods and counseling” that have been approved by the Food and

Drug Administration. See J.A. 311 (2011 Guidelines), 312-A (2019 Guidelines).

       Group health plans and health insurance issues must cover the services identified in the

Guidelines without imposing a cost-sharing obligation on the part of the insured. 42 U.S.C.

§ 300gg-13(a). But, as the Supreme Court recently held in this case, HHS and the Departments

of Labor and Treasury (“the Agencies”), which collectively administer the ACA, have discretion

to create exceptions from that obligation. See Little Sisters of the Poor Saints Peter & Paul

Home v. Pennsylvania, 140 S. Ct. 2367, 2379–82 (2020). The Agencies relied on that discretion,

as well as the Religious Freedom Restoration Act (RFRA), 42 U.S.C. § 2000bb et seq., in

promulgating the regulations at issue in this case. J.A. 1–55 (Religious Rule); J.A. 56–95 (Moral

Rule) (“the Rules”). The Rules allow employers, based on either their own religious or moral

beliefs, to make the Guidelines’ contraceptive coverage requirement inapplicable as to their

employees.

       Although the Women’s Health Amendment allows the Agencies to create exemptions

from the contraceptive care mandate, the Rules here still must be set aside. First, the Rules are

arbitrary and capricious in violation of the Administrative Procedure Act’s requirement of

reasoned decision making. Second, the Religious Rule creates a religious preference for



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employers that allows them to inflict discrete harms upon employees that do not share their

religious beliefs, in violation of the Establishment Clause of the First Amendment. Third, the

Rules create unreasonable barriers to obtaining medical care. And fourth, the Rules single out

women for differential treatment, in violation of the Equal Protection Clause, Section 1557 of the

ACA, and Title VII of the Civil Rights Act.

       For these reasons, this Court should grant the States’ motion, enter summary judgment in

their favor, and vacate the Rules.

                                        BACKGROUND

  I.   Women’s Health Guidelines

       The Women’s Health Amendment to the ACA requires that group health plans and health

insurance issuers cover for women, without cost-sharing, “preventive care and screenings . . . as

provided for in comprehensive guidelines supported by” HRSA. 42 U.S.C. § 300gg-13(a)(4).

After the ACA passed, HRSA commissioned the Institute of Medicine (IOM), a widely respected

organization of medical professionals, to recommend what preventive services should be covered

for women. See J.A. 326–27. The IOM, in turn, convened a committee of sixteen members,

including specialists in disease prevention, women’s health issues, adolescent health issues, and

evidence-based guidelines, to formulate specific recommendations. See J.A. 317–18. After

conducting an extensive study, the IOM committee issued a comprehensive report identifying

eight evidence-based preventive health services it recommended be covered. J.A. 313–561.

       One of the eight preventive services was “the full range of Food and Drug

Administration-approved contraceptive methods, sterilization procedures, and patient education.”

J.A. 335. That recommendation was based on evidence that “contraception and contraceptive

counseling are effective at reducing unintended pregnancies.” J.A. 335. The committee noted

that “[n]umerous health professional associations and other organizations recommend the use of
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family planning services as part of preventive care for women.” J.A. 335. And the report

discussed in detail the health and other risks associated with unintended pregnancies, described

studies showing that contraception was effective when used correctly, and explained that cost

was a significant barrier to effective use of contraception. J.A. 427–34.

       Two weeks after the IOM Committee released its report, HRSA adopted it and issued its

first “Women’s Preventive Services Guidelines.” J.A. 310–12. Consistent with the committee’s

report, that 2011 version of the Guidelines required health plans to cover “[a] ll Food and Drug

Administration approved contraceptive methods, sterilization procedures, and patient education

and counseling for all women with reproductive capacity.” J.A. 311.1

 II.   The Agencies Work to Accommodate Religious Objections to Contraception

       Shortly after HRSA adopted the IOM report, the Agencies issued an interim final

regulation that “provide[d] HRSA with the discretion” to make the Guidelines’ contraceptive

coverage requirement inapplicable to any insurance plan maintained by “churches, their

integrated auxiliaries, and conventions or associations of churches” and “the exclusively

religious activities of any religious order.” See J.A. 265; see also J.A. 306; 26 U.S.C.

§ 6033(a)(3)(A)(i) & (iii).

       Alongside the exemption for churches and related entities, the Agencies announced, in

2012, that they would further consider how to accommodate organizations that did not qualify

for the church exemption but nonetheless objected to providing contraception. Specifically, the

Agencies said that they “plan[ned] to develop and propose changes … that would meet two

goals—providing contraceptive coverage without cost-sharing to individuals who want it and


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         HRSA updated the Guidelines in 2016, 2017, and 2019. J.A. 96–97, 180–82, 312-A.
The Guidelines continue to include contraception as a service that is “necessary for women’s
health and well-being.” J.A. 312-A.

                                                 3
accommodating non-exempted, non-profit organizations’ religious objections to covering

contraceptive services.” J.A. 300. During this process, the Agencies created a “safe harbor” for

certain organizations that did not comply with the Women’s Health Amendment’s direction to

cover the contraceptive methods and services defined in the Guidelines. Id.

       The Agencies subsequently issued an Advanced Notice of Proposed Rulemaking, a

Notice of Proposed Rulemaking, and ultimately a final rule. J.A 290–97; 269–89; 238–68. The

final rule created the “Accommodation,” an alternative available to any nonprofit entity that held

“itself out as a religious organization” and that had religious objections to “providing coverage

for some or all of any contraceptive services required” by the Guidelines. J.A. 243. The

Accommodation allowed an employer not to provide contraceptive coverage for its employees if

the employer submitted a standardized form to its insurance company (if the employer was fully

insured), or third-party administrator (if the employer was self-insured), that informed the insurer

or administrator of the religious objection. See J.A. 243–44; see also 1971–72.

       An insurance provider receiving an objection from a fully insured employer was required

to “[e]xpressly exclude contraceptive coverage from the group health insurance coverage

provided in connection with the group health plan,” and instead “[p]rovide separate payments for

any contraceptive services required to be covered … for plan participants and beneficiaries for so

long as they remain enrolled in the plan.” J.A. 265. The insurance provider was further required

to “segregate premium revenue collected from the eligible organization from the monies used to

provide payments for contraceptive services.” J.A. 265. Finally, the insurer was required to

provide written notice to plan participants and beneficiaries of the fact that “the eligible

organization does not administer or fund contraceptive benefits” but that such benefits were

available directly from the insurer. J.A. 266.



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       Under this system, a fully insured, objecting employer could opt out of providing

contraception, but their plan participants and beneficiaries would still receive the benefits they

were entitled to under the Guidelines. Shifting the burden to the insurer to provide the services

directly was not expected to impose additional costs on the insurer, because “[c]overing

contraceptives … yields significant cost savings,” in the form of lower “direct medical costs of

pregnancy.” J.A. 241. Thus, as a result of providing contraceptive coverage, the insurance

company would expect to see lower expenses from covering other services provided to the

organization’s participants and beneficiaries.

       Unlike fully insured employers, self-insured employers directly pay for the health

expenses they elect to cover, typically with the administrative assistance of an outside

organization known as a third-party administrator (TPA). Under the Accommodation, self-

insured objecting employers could submit the standardized objection to their TPA. J.A. 263–64.

The TPA then assumed the obligation to provide contraceptive coverage to plan participants and

beneficiaries, either by paying for contraceptive services directly or by contracting with another

entity to do so. J.A. 264. And the TPA was obligated to provide the same notice that insurers

were required to provide, stating that the employer did not provide contraceptive benefits, but

that such benefits were available from the TPA. J.A. 264.

       In these respects, the Accommodation functioned in precisely the same manner for self-

insured and fully-insured employers. But because TPAs for self-insured plans do not bear the

costs for other benefits provided to plan participants and beneficiaries, they would not be

expected to save money by providing contraceptive coverage. As a result, the regulations created

a mechanism for HHS to reimburse TPAs for the cost of providing contraceptive coverage, and

to offer an allowance for administrative expenses and profit. J.A. 251. The payments operated



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through the Federally-Facilitated Exchange user fee that companies participating in federally-

administered healthcare exchanges paid. J.A. 251.

III.   Litigation over Contraceptive Coverage

       Despite the Agencies’ efforts, several employers and colleges filed lawsuits challenging

their own obligation to cover contraceptive care in existing health plans, or, for those eligible for

the Accommodation, to notify their insurer or TPA that they would not be doing so.

       In one set of cases, closely held, for-profit corporations that were not eligible for the

Accommodation challenged their obligation to cover contraceptive care, arguing that being

required to do so violated their rights under the Religious Freedom Restoration Act (RFRA), 42

U.S.C. § 2000bb et seq. Two of these challenges were consolidated before the Supreme Court in

Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682 (2014). The Court held in Hobby Lobby that

requiring closely held, for-profit corporations with religious beliefs that were substantially

burdened by covering contraceptive care to do so violates RFRA because the government could

promote access to contraceptive care without requiring an objecting employer to cover that care

by utilizing the Accommodation mechanism. Id. at 728–32.

       Three days after its decision in Hobby Lobby, the Court ruled that an employer that

qualified for the Accommodation could, instead of sending its objection notice to its insurer or

TPA, directly notify HHS of its objection. Wheaton College v. Burwell, 573 U.S. 958 (2014).

The Court stressed, however, that its order should not affect the ability of covered individuals “to

obtain, without cost, the full range of FDA approved contraceptives” as HHS could rely on the

notice to “facilitate the provision of full contraceptive coverage under the Act.” Id.

       After these decisions, the Agencies initiated a formal rulemaking process to amend the

eligibility criteria for the Accommodation consistent with Hobby Lobby, J.A. 218–27, and issued

interim final rules to address the Court’s order in Wheaton College, J.A. 228–37. The interim
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rule allowed objecting entities to establish eligibility for the Accommodation by notifying HHS

of their objection to covering contraception. J.A. 228–37. Both sets of rules were finalized one

year later. J.A. 118–217.

       In another set of cases, employers already eligible for the Accommodation alleged that

that option violated their rights under RFRA. Many of these cases, including one from the Third

Circuit, see Geneva College v. Dep’t of Health & Human Servs., 778 F.3d 422 (3d Cir. 2015),

were ultimately consolidated before the Supreme Court in Zubik v. Burwell, 136 S. Ct. 1557

(2016). Six days after argument in Zubik, the Court directed the parties to submit supplemental

briefing to “address whether and how contraceptive coverage may be obtained by petitioners’

employees through petitioners’ insurance companies, but in a way that does not require any

involvement of petitioners beyond their own decision to provide health insurance without

contraceptive coverage to their employees.” Zubik v. Burwell, 194 L. Ed. 2d 599 (Mar. 29,

2016). The order proposed one such arrangement, but added that “[t]he parties may address other

proposals along similar lines.” Id. After the parties submitted supplemental briefing, the Court

decided that the parties should be “afforded an opportunity to arrive at an approach going

forward that accommodates petitioners’ religious exercise while at the same time ensuring that

women covered by petitioners’ health plans ‘receive full and equal health coverage, including

contraceptive coverage.’” Zubik, 136 S. Ct. at 1560. The Court added:

       Nothing in this opinion, or in the opinions or orders of the courts below, is to
       affect the ability of the Government to ensure that women covered by petitioners’
       health plans “obtain, without cost, the full range of FDA approved
       contraceptives.”

Id. at 1560–61 (citations omitted). The Court vacated all lower court decisions in the

consolidated cases. Id. at 1560.




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       Several months after the Court’s order in Zubik, the Agencies announced that “no feasible

approach has been identified . . . that would resolve the concerns of religious objectors, while

still ensuring that the affected women receive full and equal health coverage, including

contraceptive coverage,” J.A. 172. Because the Accommodation best reconciled access to

contraceptive coverage and religious objections to providing that coverage, the Agencies left that

process in place. J.A. 172–73. Several more months later, the Third Circuit again ruled that the

Accommodation does not violate RFRA. Real Alternatives, Inc. v. Dep’t of Health & Human

Servs. 867 F.3d 338, 359–66 (3d Cir. 2017).

IV.    The Agencies’ Rules

       In May 2017, President Donald Trump issued an Executive Order directing the Agencies

to “consider issuing amended regulations” to address “conscience-based objections to the

preventive-care mandate promulgated under section 300gg-13(a)(4) of Title 42, United States

Code.” J.A. 167–168. The order did not acknowledge the Court’s instruction in Zubik that the

Agencies ensure that women covered by health plans offered by objecting entities “receive full

and equal health coverage, including contraceptive coverage.” 136 S. Ct. at 1560 (citation

omitted). Later that year, the Agencies issued two interim final rules—one addressing religious

objections to contraception and one to moral objection to contraception—which became

effective a week before they were published in the Federal Register. J.A. 98 – 141 (interim

Religious Rule); J.A. 141 – 166 (interim Moral Rule). The two interim rules made several

sweeping changes to the availability of contraceptive coverage.

       Over the next year, the Agencies accepted comments on the interim rules. Then, in

November 2018, the Agencies issued final versions of the Rules, which maintained the

substantive changes first promulgated through the interim versions. J.A. 1–55; 56–95. Among

those changes, the Rules:
                                                 8
       Create a Greatly Expanded Religious Exemption for Employers: The Religious Rule

directs that an employer may make the Guidelines’ contraceptive coverage requirement

inapplicable to its employees if the employer has a religious objection to covering or arranging

payments for contraceptive care, or objects to having an insurer or TPA do so. 45 C.F.R.

§ 147.132(a); see also J.A. 55. According to the Agencies, a complete exemption of this sort is

needed because the Accommodation itself violates RFRA in many cases. J.A. 11–12.

       Other than for churches and affiliated entities, the Agencies have never before directed

that certain health insurance plans be altogether removed from the otherwise general requirement

to cover contraceptive care without cost sharing. The consequence for any woman covered by

such a plan is the loss of coverage, without cost sharing, for contraceptive services and

counseling. The Religious Rule does not create any mechanism for women who will lose

coverage to obtain it from other sources, and it does not suggest that the Agencies will work to

ensure that any such women have coverage.

       Create a Moral Exemption for Employers: The Agencies also created a moral exemption

that functions much like the religious exemption. 45 C.F.R. § 147.133(a); see also J.A. 94–95.

The Moral Rule does not define what beliefs qualify as a “sincerely held moral conviction”

sufficient to claim the exemption. Not only have the Agencies never before created a moral

exemption, the Agencies have never before permitted a moral objector to use the

Accommodation.

       Create an Individual Exemption: The Rules also create, for the first time, a process for

individuals to make the Guidelines’ contraceptive coverage requirement optional as to the

insured’s plan, if the insured has a religious or moral objection to contraception. 45 C.F.R.

§§ 147.132(b), 147.133(b); see also J.A. 55, 95.



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       Make the Accommodation Optional: The Rules make the Accommodation optional in all

cases. 45 C.F.R. § 147.131; see also J.A. 54. As a result, no objecting employer is required to use

it, even if the Accommodation would fully satisfy any religious or moral objection to covering

contraceptive care.

       Allow Publicly Traded Corporations to Use Exemption or Accommodation: The

Religious Rule, but not the Moral Rule, makes the newly created exemption available to publicly

traded corporations. 45 C.F.R. § 147.132(a)(1)(i)(D); see also J.A. 55 The Agencies justify this

expansion by claiming “in a country as large as America comprised of a supermajority of

religious people, some publicly traded entities might claim a religious character for their

company, or that the majority of shares (or voting shares) of some publicly traded companies

might be controlled by a small group of religiously devout persons so as to set forth such a

religious character.” J.A. 27.

       Fail to Require Notice: The Rules provide that “exempt entities do not need to file

notices or certifications of their exemption, and these interim final rules do not impose any new

notice requirements on them.” J.A. 23; accord J.A. 78. Rather, the only notice that exempted

plans are required to provide participants is that which ERISA already mandates. So long as

plans that do not provide contraception indicate that fact somewhere in their plan documents,

they fully comply with the Rules. J.A. 23, 78–79.

 V.    This Action

       Pennsylvania filed this action shortly after the agencies issued the interim rules. See

Compl., ECF No. 1. The complaint alleged that the Rules are contrary to the Constitution’s

guarantee of equal protection, to Title VII of the Civil Rights Act, the Pregnancy Discrimination

Act, and to the Establishment Clause, and violated both the APA’s substantive and procedural

limitations on agency rulemaking. Id. ¶¶ 141–76. Pennsylvania moved for a nationwide
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preliminary injunction, see Mot. Prelim. Inj., ECF No. 9, which this Court granted in December

2017, Pennsylvania v. Trump, 281 F. Supp. 3d 553 (E.D. Pa. 2017). The Court concluded that

the agencies had improperly failed to take comment before issuing the interim rules, in violation

of the procedural requirements of the APA, and that the agencies lacked statutory authority under

the ACA to create exemptions from the requirements of the Women’s Health Amendment, and

that those exemptions could not be separately justified by RFRA. Id. at 570–81.

       While the first preliminary injunction was on appeal, the agencies finalized the Rules.

Pennsylvania—joined by New Jersey—filed an amended complaint challenging the final

versions of the Rules on the same grounds as the interim versions. See Am. Compl., ECF No. 89.

Three days later, the States filed a second motion for a preliminary injunction. See Mot. Prelim.

Inj., ECF No. 90. This Court again entered a nationwide preliminary injunction. Pennsylvania v.

Trump, 351 F. Supp. 3d 791 (E.D. Pa. 2019). The Court concluded that the Agencies’ acceptance

of comments following the issuance of the interim rules did not cure their violation of the APA’s

procedural requirements, and that the agencies lacked authority, under either the Women’s

Health Amendment or RFRA, to create exemptions from the Guidelines, id. at 812–27.

       On appeal, the Third Circuit affirmed this Court’s decision in all respects. Pennsylvania

v. President, 930 F.3d 543 (3d Cir. 2019). That court agreed that the procedure followed by the

agencies was defective, as the agencies had not allowed for the opportunity to comment on a

proposal. Id. at 565–69. And that court further held that the Women’s Health Amendment did not

give the agencies the discretion to create exemptions from the Guidelines, and that RFRA neither

required nor authorized the Religious Rule independent of the Women’s Health Amendment. Id.

at 570–74. Finally, it upheld the scope of the nationwide injunction entered by this Court. Id. at

575–76.



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       The Supreme Court reversed the court of appeals. The Court first held the Women’s

Health Amendment provides the Agencies with discretion to define both what services must be

covered, and who must cover them. Little Sisters, 140 S. Ct. at 2380 (citations omitted). The

Court then briefly discussed RFRA, rejecting the argument “that the Departments could not even

consider RFRA as they formulated the religious exemption from the contraceptive mandate.” Id.

at 2382–83.2 The Court made clear, however, that it “need not reach” whether RFRA required or

authorized the Rules. Id. at 2382. The Court next held that the Agencies’ acceptance of

comments following the issuance of the interim rules satisfied the requirements of the APA,

effectively overruling the Third Circuit’s decision in NRDC v. EPA, 683 F.2d 752 (3d Cir. 1982),

as well as similar decisions from other courts of appeals.

       Justices Alito and Gorsuch concurred with the majority’s opinion, but also would have

ruled that RFRA compelled the Religious Rule. Justice Alito wrote that “RFRA compels an

exemption for the Little Sisters and any other employer with a similar objection to what has been

called the accommodation to the contraceptive mandate.” Little Sisters, 140 S. Ct. at 2387 (Alito,

J., concurring).

       Justice Kagan, joined by Justice Breyer, concurred in the judgment only. Justice Kagan

concluded that the language of the Women’s Health Amendment was ambiguous and that the

Agencies’ interpretation was entitled to Chevron deference. Id. at 2397 (Kagan, J., concurring).

Justice Kagan stressed, however, that the Court’s conclusion on the scope of the Women’s

Health Amendment “does not mean the Departments should prevail when these cases return to

the lower courts.” Id. Rather, Justice Kagan stressed that “[a]n agency acting within its sphere of

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          Although the Court characterized this as “respondents’ argument,” the States had, in
fact, argued to the contrary. See, e.g., Transcript of Oral Argument at 79:13–15, Little Sisters of
the Poor Saints Peter and Paul Home, 140 S. Ct. 2367 (2020) (Nos. 19-431 & 19-454) (“We
don’t dispute that agencies should take RFRA into account.”).

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delegated authority can of course flunk the test of ‘reasoned decisionmaking.’” Id. at 2398

(Kagan, J., concurring). Justice Kagan then described several ways in which the agencies had

probably done so here, ranging from the decision to “exempt[] all employers with objections to

the mandate, even if the accommodation met their religious needs” to the inclusion of publicly

traded companies within the scope of the Religious Rule, to the issuance of the Moral Rule

altogether, which could not be justified by RFRA. Id. at 2398–2400.

        Justice Ginsburg, joined by Justice Sotomayor, dissented. Justice Ginsburg criticized the

majority for “cast[ing] totally aside countervailing rights and interests in its zeal to secure

religious rights to the nth degree.” Id. at 2400 (Ginsburg, J., dissenting). Justice Ginsburg read

the Women’s Health Amendment to grant HRSA the authority to identify what preventive

services were to be covered, but not who was to cover them. Id. at 2404–06. Justice Ginsburg

then rejected the government’s alternative argument that RFRA justified the Religious Rule,

noting that the Rule “imposes significant burdens on women employees” and that the

Accommodation “does not substantially burden objectors’ religious exercise.” Id. at 2407–11.

                                            ARGUMENT

        Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). In a challenge brought under the APA, the Court must hold unlawful and set aside any

agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law,” that is “contrary to constitutional right,” or that is “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(A)–(C).

        The Rules fail on all accounts. First, the Rules do not comply with the APA’s demand of

reasoned decision making (Count IV). Second, the Religious Rule violates the Establishment



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Clause (Count V). Third, the Rules erect an unreasonable barrier to appropriate medical care, in

violation of Section 1554 of the ACA. (Count IV). Fourth, the Rules’ unequal treatment of

women violates the Equal Protection Clause, Section 1557 of the ACA, and Title VII of the Civil

Rights Act of 1964 (Counts I, II & IV). Thus, the Rules must be vacated.

  I.   The Rules Are Arbitrary and Capricious

       Agency action must be set aside if the agency failed to “examine the relevant data and

articulate a satisfactory explanation for its action, including a rational connection between the

facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut.

Auto. Ins. Co., 463 U.S. 29, 43 (1983) (cleaned up). Agency action also must be vacated if the

agency “entirely failed to consider an important aspect of the problem, offered an explanation for

its decision that runs counter to the evidence before the agency, or is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.” Id. And in conducting

this review, “an agency’s action must be upheld, if at all, on the basis articulated by the agency

itself.” Id. at 50. And anytime agency action constitutes a change to existing policy, the agency

must provide a “reasoned explanation” and “show that there are good reasons for the new

policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

       A. The Religious Rule Does Not Reasonably Address the Problem it Purports to
          Resolve

       The Religious Rule’s purpose is to “expand the protections for the sincerely held

religious objections of certain entities and individuals.” J.A. 2. As the Supreme Court has now

held, the Agencies’ discretion under the Women’s Health Amendment permits them to protect

religious objections to contraception because “the potential for conflict between the

contraceptive mandate and RFRA is well settled.” Little Sisters, 140 S. Ct. at 2383. Still, the

APA demands a “rational connection” between any conflicts that exist and the Agencies’ chosen


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solution. State Farm, 463 U.S. at 43; see also Little Sisters, 140 S. Ct. at 2398 (Kagan, J.,

concurring). So here, the solution—i.e., the Religious Rule—must reasonably target whatever

conflicts exist between either the requirement that group health plans cover contraceptive care or

the Accommodation and RFRA. “Assessed against that standard of reasonableness, the

exemptions HRSA and the Departments issued give every appearance of coming up short.” Little

Sisters, 140 S. Ct. at 2398 (Kagan, J, concurring).

       First, a RFRA violation exists only when the government “substantially burden[s]” the

exercise of religion. 42 U.S.C. § 2000bb-1(a). The Religious Rule, however, makes the

Guidelines’ inclusion of contraceptive coverage inapplicable to any employer that merely objects

to contraception based on a sincerely held belief. 45 C.F.R. § 147.132(a)(2). The objecting

employer need not even claim that directly covering contraception, or complying with the

Accommodation, would cause a substantial burden.

       Second, the Religious Rule allows an employer for which the Accommodation would

fully resolve any conflict with RFRA to still make the Guidelines’ contraceptive coverage

requirement inapplicable to that employer’s employees.3 Conflicts with RFRA cannot justify

empowering employers to erase the Guidelines’ contraceptive coverage requirement when, under

the existing options, there was no RFRA conflict to begin with. And in the Religious Rule, the

Agencies concede that some employers for whom the Accommodation relieves any RFRA

violation may elect to use the exemption. J.A. 26, 41–42. This over inclusiveness is problematic

because only the Accommodation preserves access to contraceptive coverage, and contraceptive

methods and counseling are among the Guidelines’ list of services that are “necessary for

women’s health and well-being”—a conclusion that the Rules do not disturb. See supra

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          The Moral Rule shares this flaw, as the Accommodation process is just an optional
alternative to an exemption. J.A. 87.

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Background Parts II & IV; J.A. 8, 68, 312-A. By the Agencies’ own commitments, then, a

reasonable solution to any RFRA violation would do as little damage as possible to women’s

access to contraception. But the Agencies have not been guided by that priority. Instead, they

have extended the exemption even when it is not needed to serve the Rules’ purported objectives.

And in every instance in which the Accommodation fully resolves an entity’s religious or moral

objection, but the entity elects the exemption instead, the Rules “yield[] all costs and no

benefits,” Little Sisters, 140 S. Ct. at 2399 (Kagan, J., concurring).

       Third, the Religious Rule improperly covers publicly traded corporations, despite the

Supreme Court having never held that RFRA covers those corporations. Even if RFRA does

cover publicly traded corporations, the Agencies’ explanation for their novel interpretation is too

thin to justify the expansion. The Agencies arrive at their conclusion because, under RFRA, the

government may not “substantially burden a person’s exercise of religion,” and under 1 U.S.C.

§ 1 “person” includes corporations. J.A. 27. Yet when the Court extended RFRA’s protections to

closely-held corporations, section 1 was just a part of the Court’s analysis. See Hobby Lobby,

573 U.S. 707–09. Before the Court turned to section 1, the Court also considered the purpose of

RFRA and the consequences of an alternate conclusion. Id. at 705–07. If section 1 were enough

reason to extend RFRA to closely-held corporations, the first half of the Court’s reasoning in

Hobby Lobby on this point would be superfluous. Nevertheless, the Agencies consider section 1

enough to extend RFRA even further than the Court did in Hobby Lobby.

       Compounding this third problem, when the Court extended RFRA to closely held for-

profit corporations, it dismissed concerns about whether a corporation can form a religious

belief. The Court did, however, distinguish the foreign idea of “unrelated shareholders” running

a corporation under a shared set of religious beliefs from closely-held corporations doing so. Id.



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at 717. At one point in the Religious Rule, the Agencies quote language from Hobby Lobby

noting the peculiarity of publicly-traded companies coalescing around a shared religious tenet.

J.A. 44–45. Nevertheless, elsewhere in the Religious Rule, the Agencies still claim that “the

mechanisms for determining whether a [publicly traded] company has adopted and holds certain

principles or views, such as sincerely held religious beliefs, [] a matter of well-established State

law with respect to corporate decision-making.” J.A. 27. While some facets of corporate decision

making may be well settled, the discomfort that the Supreme Court displayed toward publicly

traded corporations expressing a religious belief for purposes of RFRA shows that how—or even

whether—a publicly traded may do so is far from settled. Thus, on this point, too, the Agencies

have not reasonably justified that including publicly-traded corporations within the Religious

Rule remedies any actual RFRA violations.

       Finally, the Religious Rule allows employers to claim the exemption without providing

any notice of that decision to the government, insurer, or TPA. J.A. 23.4 Without a notice

requirement, or something similar, the Religious Rule lacks any mechanism for the sincerity of

an employer’s religious belief to be evaluated. And the Religious Rule omits such a mechanism

even though an essential part of the Court’s decision to extend RFRA to closely held

corporations was that insincere claims of a substantial burden on religion could be distinguished

from sincere ones. Hobby Lobby, 573 U.S. at 717–18. Because courts can distinguish the two,

the Supreme Court discounted concerns that for-profit entities would take advantage of RFRA,

noting that “[t]o qualify for RFRA’s protection, an asserted belief must be ‘sincere’; a

corporation’s pretextual assertion of a religious belief in order to obtain an exemption for

financial reasons would fail.” Hobby Lobby, 573 U.S. at 717 n.28. Under the Religious Rule,


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           The same is true of the Moral Rule. J.A. 78–79.

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however, honest and pretexual beliefs, which in either case need not even be substantially

burdened, qualify for the exception all the same. In Hobby Lobby, the Court criticized a failed

bill that also lacked any mechanism for scrutinizing an objector’s belief for “extend[ing] more

broadly than the pre-existing protections of RFRA,” id. at 719 n.30, a part of Hobby Lobby the

Religious Rule fails to acknowledge.

       In each of these ways, the Religious Rule is not a reasonable resolution of any conflicts

that exist between the Guidelines’ contraceptive coverage requirement and RFRA.

       B. The Agencies Did Not Reasonably Conclude that the Religious Rule Resolves
          Any RFRA Violations

       The Religious Rule suffers an additional flaw: the Agencies have not reasonably

determined that rule is needed to remedy any RFRA violations. Indeed, according to precedent

still binding on this Court, the Accommodation does not impose a substantial burden, and so

does not violate RFRA. Real Alternatives, 867 F.3d at 359–66; see also Pennsylvania, 930 F.3d

at 573 & n.30, rev’d and remanded on other grounds.

       No Supreme Court ruling upsets Real Alternatives’ weight in this Court. Zubik precedes

Real Alternatives, and so does not warrant disregarding Real Alternatives. And Little Sisters is

not inconsistent with Real Alternatives. There, the Supreme Court repeated that, for purposes of

RFRA, courts must accept the “sincerely held complicity-based objections of religious entities.”

Little Sisters, 140 S. Ct. at 2383. But the Court did not say that courts must passively accept any

claim that a religious entity is substantially burdened by the operation of a generally applicable

rule, or that courts must accept that a burden exists when the claimed burden is premised on a

faulty characterization of law. See Real Alternatives, 867 F.3d at 356 (rejecting these positions).

Nor did the Court say that the Accommodation imposes a substantial burden, or that it ever held

as much in Zubik. Little Sisters, 140 S. Ct. at 2383. Instead, the Court said only that it was


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appropriate for the Agencies, when revisiting the contraceptive coverage guarantee after Zubik,

to consider what RFRA required. Id.

       And, in the Religious Rule, the Agencies’ evaluation of whether the Accommodation is

substantially burdensome fails to acknowledge the Third Circuit’s majority opinion in Real

Alternatives; rather, the only mention of the case is a citation to the dissent. J.A. 24 n.56.

Ignoring Real Alternatives while extending RFRA into new territory is all the more remarkable

because Real Alternatives was one of only two published decisions by a court of appeals

addressing a RFRA challenge to the contraceptive mandate following the remand in Zubik and

prior to the issuance of the interim rules. See Ozinga v. Price, 855 F.3d 730, 736 (7th Cir. 2017)

(dismissing challenge to mandate as moot in light of Hobby Lobby). RFRA, of course, is not a

statute that any of the Agencies administers. Rather, conclusively resolving what RFRA requires

is the job of the courts. Concluding that the Accommodation may substantially burden religious

beliefs without addressing key judicial decisions constitutes unreasoned decision making.

Exacerbating this error, the only decision other than Hobby Lobby that the Agencies cite to

support that the Accommodation imposes a substantial burden is a decision of the Eighth Circuit.

But the Agencies avoid that that decision was vacated by the Supreme Court following Zubik.

See J.A. 11; see also U.S. Dep’t of Health & Human Servs. v. CNS Ministries, No. 15-775, 2016

WL 2842448, at *1 (May 16, 2016) (vacating Sharpe Holdings, Inc. v. U.S. Dep’t of Health &

Human Servs., 801 F.3d 927 (8th Cir. 2015)).

       Even if the Accommodation substantially burdened religious exercise, the Agencies

would need to have reasonably considered the governmental interests at stake and whether the

Accommodation was the least restrictive means of accomplishing those interests before they

concluded that the Accommodation violates RFRA. 42 U.S.C. § 2000bb-1(b). But the Agencies



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do not seriously grapple with either. For the reasons discussed in the following section, the

Agencies’ contention that there is no compelling interest at stake is both deficient on its own, and

an inadequately justified change of position. Moreover, the Agencies do not separately consider

whether the Accommodation is in fact the least restrictive method of facilitating access to

contraception.5

       Because the Agencies did not reasonably conclude that the Accommodation substantially

burdens religious beliefs, the Agencies did not reasonably conclude the Accommodation

implicates RFRA. And because the Agencies’ conclusion on this point is unsupported, the

justification for promulgating a rule to remedy RFRA violations crumbles. Even if the

Accommodation can impose a substantial burden, the Agencies did not justify their new view

that the Accommodation is not the least restrictive way of furthering a compelling government

interest. For any of these reasons, the Religious Rule is arbitrary and capricious.

       C. The Agencies Failed to Provide a Reasoned Explanation for Their Reversal on
          the Safety, Efficacy, and Benefits of Contraception

       In part, the Agencies conclude that the Religious Rule was a reasonably way to resolve

conflicts with RFRA because of doubts about the safety, efficacy, and benefits of contraceptive

care, which in turn undermine any compelling interest in facilitating access to that care. J.A. 13.

Independently, each rule relies on the Agencies’ doubts about the health benefits of

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          The Religious Rule mentions Title X clinics as one alternative that would allow women
who lose coverage for contraceptive care because of the rule to receive contraceptive care even
without insurance coverage. According to the Agencies, HHS’s then-pending rule relating to
Title X “would amend the definition of ‘low income family’—individuals eligible for free or low
cost contraceptive services—to include women who are unable to obtain certain family planning
services under their employer-sponsored health coverage due to their employers’ religious
beliefs or moral convictions.” J.A. 16. But in the final Title X rule, HHS said that those who
believed the rule “requires project directors to consider women as being from a low income
family if they have this insurance status” were under a “mistaken impression.” J.A. 2592.
Therefore, women who lose coverage because of the Religious Rule cannot be assured of
receiving contraceptive care through a Title X clinic.

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contraception. J.A. 17–21, 73–77. Those doubts constitute a changed position for the Agencies,

which until 2017 had consistently promulgated rules about covering contraceptive methods and

counseling that recognized those services are safe, effective, and beneficial. See J.A. 173, 241–

42, 256, 300–01. Indeed, the FDA, another component of HHS, has approved 18 different

methods of contraception as safe and effective. J.A. 2344–67. And in prior rules, the Agencies

had adopted the IOM’s conclusions that contraception promotes healthier outcomes for mothers

and children. See J.A. 241, 256, 300.

       Agencies may “change their existing policies,” Encino Motorcars, LLC v. Navarro, 136

S. Ct. 2117, 2125 (2016), but must provide a “reasoned explanation” and “show that there are

good reasons for the new policy.” Fox Television, 556 U.S. at 515. And when an agency’s “new

policy rests upon factual findings that contradict those which underlay its prior policy” and “its

prior policy has engendered serious reliance interests,” the agency must provide “a more detailed

justification.” Id. Here, the Rules lack a detailed—or even reasoned—explanation for the

Agencies’ changed stance on the safety, efficacy, and benefits of contraceptive care.

       Before 2017, the Agencies had determined that because women face unique health needs

associated with the ability to become pregnant, and because unintended pregnancy poses health

risks, contraception is a preventive service. J.A. 241, 256, 300. And because cost sharing is a

barrier to effective contraception use, the Agencies also concluded that the contraceptive care

requirement is necessary to remedy a critical gender disparity that prevents women from

achieving equal health outcomes with men. Id. Those findings generated significant reliance

interests: the Agencies acknowledge in the Religious Rule that between 55.6 million and 62.4

million women covered by private insurance currently have cost-free contraceptive coverage,

J.A. 43, and concede that at least 70,515 women will lose coverage under the Rules, J.A. 43, 91.



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       In the final Rules, the Agencies backtrack. J.A. 17–21, 73–77. Faced with some

comments asserting that contraception poses health risks to women, that some forms of

contraception are actually abortion, and that contraception has not reduced teen pregnancy, the

Agencies decline to “take a position on the[se] empirical question[s].” J.A. 20; accord J.A. 75.6

They likewise conclude that “it is not clear” that the Rules “will have a significant effect on

contraceptive use and health, or workplace equality, for the vast majority of women benefitting

from the Mandate”—even though the Rules permit employers to dictate whether employees who

want to use contraceptive care and services can enroll in insurance plans that cover those

services without cost sharing. J.A. 20–21; accord 76–77.7

       The Agencies have not justified reversing course. In fact, their conclusions “run[] counter

to the evidence before the agency.” State Farm, 463 U.S. at 43. First, the Agencies identify some

“empirical questions”—including how severe the side effects of contraceptive methods are and

whether contraception increases or decreases unintended pregnancies—that indicate that

“significantly more uncertainty and ambiguity exists on these issues.” J.A. 20; see also J.A. 75.

But the suggestion of uncertainty, as to both side effects and efficacy, irrationally treats all 18

forms of FDA-approved contraception as indistinguishable. No one method of contraception is

right for everyone, and that one method might produce ill effects in one person does not mean

that all 17 other approved methods will. This is exactly why the Agencies had previously


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        Only some of the 27 total comments supporting the Rules raised these concerns with
any specificity. See J.A. 1529–48, 1552–66, 1570–86.
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         The Agencies had previously explained that the church exemption would likely not
negatively impact women because houses of worship “are more likely than other employers to
employ people of the same faith who share the same objection.” J.A. 243. But the Agencies had
rejected expanding the exemption to other employers precisely because female employees of
non-religious employers are “less likely than individuals in plans of religious employers to share
their employer’s (or institution of higher education’s) faith and objection to contraceptive
coverage on religious grounds.” J.A. 256. The Agencies have not abandoned that position.

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concluded that “[i]t is for a woman and her health care provider in each particular case to weigh

any risks against the benefits in deciding whether to use contraceptive services in general or any

particular contraceptive service.” J.A. 242; see also J.A. 2344 (“No one product is best for

everyone. Some methods are more effective than others at preventing pregnancy.”). Moreover,

the Rules avoid that all medication has side effects and can be contraindicated for some patients.

       Nor do the Agencies point to new evidence that all 18 forms of FDA-approved

contraception are categorically unsafe for women, or to any evidence contradicting their prior

conclusion that unintended pregnancy is a health risk for women. Beyond that, the Agencies

ignore the FDA’s undisputed determination that the 18 approved methods of contraception are

“proven safe and effective,” J.A. 2364–67, even though all methods of contraception, like all

medical services, must be individually prescribed, J.A. 2344 (“No one product is best for

everyone. . . . This page lists FDA-approved and cleared methods for birth control. Talk to your

healthcare provider about the best method for you.”). And the Agencies ignore the overwhelming

consensus of the medical community in support of contraception’s safety and efficacy. E.g. J.A.

628, 631–32, 641, 643, 647–48, 650–51, 659, 1662–76, 1667–84, 1685–1705, 1784–92. The

Rules, then, concoct a scientific controversy to newly discover “uncertainty and ambiguity”

about the safety, efficacy, and benefits of contraceptive care. J.A. 20.

       To reject the scientific consensus, the Agencies point to comments that certain forms of

contraception are “abortifacients.” J.A. 19, 74. While the Agencies recognized the religious tenor

of these comments, id., they still made commenters’ religious views part of the rationale for

reversing course on the health effects of contraception and how certain forms of contraception

prevent pregnancy. See J.A. 257 (“FDA-approved contraceptive methods, including Plan B, Ella,

and IUDs, are not abortifacients within the meaning of federal law.”). Personal religious beliefs



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about how a form of medicine operates may matter for RFRA, but not for the health effects of

contraception. So relying on those comments to support scientific conclusions, as the Agencies

did, was unreasonable.

       The Agencies’ new position is contrary not just to science and positions in previous rules,

but also contrary to HHS’s current definition of pregnancy. See 45 C.F.R. § 46.202(f) (defining

pregnancy as “the period of time from implantation until delivery”). HHS’s current definition of

pregnancy comports with that of the medical community. J.A. 712 (noting that since 1965, the

American Congress of Obstetricians and Gynecologists (ACOG) has recognized that “the

establishment of a pregnancy takes several days and is not completed until a fertilized ovum is

implanted in the lining of the woman’s uterus.” (citations omitted)). As ACOG and many other

commenters stated, “[e]very FDA-approved contraceptive method acts before implantation, does

not interfere with an existing pregnancy, and is not effective after a fertilized egg has implanted

successfully in the uterus.” J.A. 647 (citations omitted); see also, e.g., 62 Fed. Reg. 8610, 8611

(Feb. 25, 1997) (FDA’s conclusion that “[e]mergency contraceptive pills are not effective if the

woman is pregnant” and have no “adverse effect on the fetus” if taken when a women is

pregnant). The Agencies have presented no scientific evidence to support a redefinition of

pregnancy, rendering this analysis arbitrary and capricious.8

       In addition, the Agencies decline to “take a position on the empirical question of whether

contraception has caused certain reductions in teen pregnancy,” but still use purported ambiguity

over this empirical question to conclude that “it is difficult to establish causation between


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        The Agencies also misrepresent how the FDA itself describes several methods of
contraception. J.A. 19 n.39, 74 n.41. The FDA notes that several forms of contraception “may
also work . . . by preventing attachment (implantation) to the womb (uterus).” J.A. 2363. The
Agencies insert the words “of a human embryo after fertilization,” which the FDA did not use.
See id.

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granting religious exemptions to the contraceptive Mandate and either an increase in teen

pregnancies in particular, or unintended pregnancies in general.” J.A. 19; accord J.A. 75. For

HHS, that position disregards an earlier conclusion that the 63% decline in teen pregnancy

between 1990 and 2013 “is due to the combination of an increased percentage of adolescents

who are waiting to have sexual intercourse and the increased use of effective contraceptives by

teens.” J.A. 2556–63. The studies cited by the Agencies do not suggest otherwise: that other

factors have influenced the undisputed decline in teen pregnancy does not eliminate the role of

increased access to contraception, and that many women who had abortions were using

contraception when they got pregnant only highlights the problem of women inconsistently using

less effective methods. Cf. J.A. 19–20, 75. Here, too, there is no evidence suggesting any

“uncertainty and ambiguity” over the effectiveness of contraception.

       Finally, the Agencies summarily conclude that the Rules “are not likely to have negative

effects on the health or equality of women nationwide,” after again declining to take a position

on “those evidentiary issues.” J.A. 21, 76–77. But the Agencies fail to provide any evidence

contradicting their earlier conclusions that contraception “improves the social and economic

status of women” and that contraceptive coverage without cost sharing is necessary to eliminate

the “financial barriers that prevented women from achieving health outcomes on an equal basis

with men.” J.A. 241, 256, 300. Additionally, the Agencies provide no source supporting any

ambiguity over the impact of contraception or the mandate on unintended pregnancy, and their

only source for claiming that state mandates “have not necessarily lowered rates of unintended

pregnancy (or abortion) overall” is a law review article, not a research study. J.A. 20 & n.53,

76 & n.56. The Agencies ignore several comments proving that Colorado’s contraceptive

mandate, for example, reduced the unintended pregnancy and abortion rate, J.A. 799–800, 807,



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1330—claiming instead that no commenter provided empirical data about state contraceptive

equality mandates, J.A. 20, 76. The Agencies also ignore comments showing that the

contraceptive coverage requirement has allowed women to choose longer-term and more

effective forms of contraception, which decreases the risk of unintended pregnancies. E.g., J.A.

1033, 1125, 1151–52, 1329–30.

       At bottom, the Agencies have failed to provide a reasoned explanation—much less a

detailed justification—for their newfound view that contraception is not safe, effective, and

beneficial for women. See Fox Television, 556 U.S. at 515. And all evidence cuts against the

Agencies’ conclusion. For these reasons, the Rules are arbitrary and capricious.

       D. The Agencies Provided No Reasoned Justification for the Moral Rule

       The Moral Rule has even more defects. To begin, it is the product of the Agencies having

“relied on factors which Congress has not intended [them] to consider.” State Farm, 463 U.S. at

43. Given the history of challenges to the contraceptive guarantee under RFRA, it was proper for

the Agencies to look to potential conflicts with RFRA to inform the exercise discretion that

exists under the Women’s Health Amendment. Little Sisters, 140 S. Ct. at 2383. But there is no

history of litigation for moral objections like the history of litigation that has transpired under

RFRA. Nor does anything in the ACA direct the Agencies to consider moral objections to any

covered health service during the exercise of their discretion under the Women’s Health

Amendment.

       Without a statute like RFRA or any sign in the ACA that the Agencies should consider

moral objections, the Agencies instead justify the Moral Rule by invoking unrelated instances of

Congress respecting morally-informed objections to generally applicable laws. J.A. 62–64. Of

course, the ordinary inference to draw from Congress having created moral exceptions to other

generally applicable laws, but not to the ACA, would be that the difference is intentional. See,
                                                  26
e.g., Loughrin v. United States, 573 U.S. 351, 358 (2014) (explaining Congress’s use of language

in one section of a statute, but not another, ordinary is intentional); Marx v. Gen. Revenue Corp.,

568 U.S. 371, 384 (2013) (applying same interpretive principles across statutes). Each reason the

Agencies supply for departing from that standard inference is unsound.

       The Agencies first explain that inferring anything form Congress’s failure to include a

moral exception in the ACA would prove too much because it would “negate not just [the moral]

exemptions, but the previous exemptions provided for houses of worship and integrated

auxiliaries, and the indirect exemption for self-insured church plans that use the

accommodation.” J.A. 63. That conclusion is wrong. Congress’ omission of religious exemptions

from the ACA is irrelevant because RFRA applies to all federal statutes and regulations.

Congress would have needed to explicitly exempt the ACA from RFRA’s reach to make

substantial burdens on religion an improper factor to consider. Little Sisters, 140 S. Ct. at 2383.

But RFRA does not apply to moral beliefs. So, unlike religious beliefs, Congress needed to have

affirmatively made moral beliefs a factor for the Agencies to properly consider them, but did not.

       Additionally, the Agencies deem the Moral Rule a reasonable exercise of discretion

because of their history of using the discretion afforded under the Women’s Health Amendment

for religious exemptions. See J.A. 61. Yet the existence of RFRA makes the impetus for

accommodating religious interests distinct. Little Sisters, 140 S. Ct. at 2382–84. So the Agencies’

past practice of accommodating substantial burdens on religion has no bearing on whether the

Agencies should accommodate moral beliefs.

       Next, the Agencies note that while Congress did not include conscience-based

exemptions from the Women’s Health Amendment, Congress also did not require that that

Agencies cover contraception. J.A. 67. From there, the Agencies hypothesize that had Congress



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known the Women’s Health Amendment would encompass contraception, then Congress would

have included a conscience exemption too. Id. Yet the Agencies’ inferences about congressional

intent fail to address evidence suggesting that each conclusion—that Congress would have been

surprised HRSA’s Guidelines include contraception and that, if Congress had known

contraception would be covered, it would have included exemptions—is wrong. The legislative

record for the Women’s Health Amendment is replete with evidence that Congress expected

contraception would be covered. See, e.g., 155 Cong. Rec. 28,841 (2009) (Sen. Boxer); id. at

28,843 (Sen. Gillibrand); id. at 28,844 (Sen. Mikulski); id. at 29,070 (Sen. Feinstein); id. at

29,311 (Sen. Nelson). And after the first version of the Guidelines, which included

contraception, was released, Congress voted against adding conscience exemptions that

functioned just as the Moral Rule does. 158 Cong. Rec. 2621–34 (2012); see also Hobby Lobby,

573 U.S. at 719 n.30 (describing this legislative history). The best, then, that can be said about

the Agencies’ analysis of legislative intent is that it ignores important evidence. More accurately,

however, that analysis is contrary to the available evidence.

       Finally, the Agencies note that other federal agencies and States have allowed for

exceptions to neutral laws based on moral objections. J.A. 65. The Agencies likewise comment

on founding-era respect for conscientious objections. J.A. 66. Whether the Agencies’ account of

those sources is accurate, it is beside the point. Any discretionary agency action must be based

on the specific factors Congress has made relevant to that action. State Farm, 463 U.S. at 43.

       For any of these reasons, the Moral Rule is the product of unreasonable decision making.

       E. The Agencies Failed to Consider Significant Comments

       No matter the substance of an agency’s rule, an agency may not have arrived at its

conclusions having “failed to consider an important aspect of the problem.” State Farm, 463 U.S.

at 43. That means an agency must “respond in a reasoned manner to those [comments] that raise
                                                 28
significant problems. City of Waukesha v. EPA, 320 F.3d 228, 257 (D.C. Cir. 2003)); see also

United States v. Nova Scotia Food Prod. Corp., 568 F.2d 240, 252 (2d Cir. 1977). These

responses “enable the Court to see what major issues of policy were ventilated and why the

agency reacted to them as it did.” Am. Coll. of Emergency Physicians v. Price, 264 F. Supp. 3d

89 (D.D.C. 2017). “[F]ailure to address these comments, or at best its attempt to address them in

a conclusory manner, is fatal to its defense.” Ass’n of Private Sector Colleges & Universities v.

Duncan, 681 F.3d 427, 449 (D.C. Cir. 2012) (cleaned up).

       Of the 110,000 comments recognized by the Agencies, only 27 comments (representing

17 unique individuals or organizations) supported the religious and moral exemptions. J.A. 5, 60

(providing number of comments); see also J.A. 1502–93 (collecting all unique comments

supporting the Rules). Put differently, only 0.025% of comments supported the Rules; 99.96%

opposed them. Yet the Agencies nowhere acknowledge this significant disparity, nor do they

modify the exemptions in any way to increase contraceptive coverage for women. Instead, the

Agencies treat these 27 comments as bearing equivalent weight to the more than 109,950

comments opposing the Rules.

       The Agencies ignored several other comments of significance:

      The American medical community—including the American Academy of Family
       Physicians (J.A. 628–629), the American Academy of Nursing (J.A. 630–39), the
       American College of Nurse-Midwives (J.A. 640–42), the American College of
       Physicians (J.A. 643–45), the ACOG, the American Academy of Pediatrics, the Society
       for Adolescent Health and Medicine (J.A. 646–55), and the American Public Health
       Association (J.A. 656–62)—unequivocally opposed the Rules as anti-science and harmful
       to women. But the Agencies nowhere acknowledge the elevated importance of comments
       by medical professionals in Rules impacting the medical needs of women.

      Many commenters explained that other state- and federal-funded programs cannot meet
       an increased need for contraceptive coverage. E.g., J.A. 600–02, 634–37, 653, 660–61,
       1065–66, 1184–86, 1337–39, 1355–56, 1463–65. In particular, commenters stated that
       Title X is insufficiently funded to meet existing needs, much less absorb an increase from
       women who lose access due to objecting employers. E.g., J.A. 600–02, 634–37, 653,

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       660–61, 1065–66, 1184–86, 1337–39, 1355–56, 1463–65. But the Agencies ignored these
       concerns, insisting only that then-proposed changes to Title X “could further reduce any
       potential effect of these final rules on women’s access to contraceptives.” J.A. 16.9

      The contraceptive mandate required coverage not just for contraceptive methods but for
       contraceptive counseling. A number of commenters noted the specific importance of
       contraceptive counseling, “during which an individual could discuss her specific health
       history and contraceptive needs in private with a healthcare provider.” J.A. 1184; see,
       e.g., J.A. 1222, 1167. As the IOM Report adopted by the Agencies recognized,
       “[e]ducation and counseling are important components of family planning services
       because they provide information about the availability of contraceptive options,
       elucidate method-specific risks and benefits for the individual woman, and provide
       instruction in effective use of the chosen method.” J.A. 432. In the Rules, the Agencies
       note only that “[s]ome commenters lamented that exemptions would include exemption
       from the requirement to cover contraception counseling,” J.A. 21. They focus only on the
       financial cost of losing coverage for contraceptive methods, failing entirely to examine
       how the inability to even discuss contraception will impact women.

       Failure to address these significant comments is fatal to an agency’s defense. Duncan,

681 F.3d at 449.

       F. The Agencies’ Regulatory Impact Analysis is Arbitrary and Capricious

       Finally, the Rules are premised on faulty assumptions about their impact. And because

the assumptions on which the Rules rely are faulty, the Rules have failed to articulate “a rational

connection between the facts found and the choice made.” State Farm, 463 U.S. at 43.

       The Agencies estimate that between 70,515 and 126,400 women will lose contraceptive

coverage because of the Rules. J.A. 40–47, 89–92. Although nominally used to calculate the

annual financial impact of the final Rules, the Agencies also use these figures to support their

narrative that the Rules will have only a minimal impact. E.g., J.A. 16 n.26, 71. But the Agencies

reached their estimates by relying on a series of unsupported assumptions.

       First, the Agencies exclude an entire class of people who may lose coverage. The

Agencies assume that each individual policyholder has at least one dependent, J.A. 41, 91, and


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           The final Title X rules ultimately eschewed these proposed changes. See supra note 5.

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acknowledge that the individual exemption extends “to family coverage covering the participant

and his or her beneficiaries enrolled under the plan,” J.A. 33; accord J.A. 86. And any individual

who objects to contraceptive coverage—whether under the individual exemption, because he or

she shares a moral objection with his or her employer, or through self-employment—will cause

his or her female dependents to lose coverage too. J.A. 44, 90, 2372. These dependents should

have factored in the Agencies’ analysis, but did not.

       Second, the Agencies assumed that, before the Rules, no more than 209 entities were

using the Accommodation. J.A. 40. They made the same assumption in the interim Religious

Rule. J.A. 123. But in the interim Religious Rule, the Agencies used data from 2017 to estimate

1,027,000 employees and beneficiaries were covered by insurance plans from 209 those entities.

J.A. 124–126. In the final Religious Rule, however, the Agencies use data from 2017 to estimate

that 2,907,000 employees and beneficiaries were covered by accommodated insurance plans.

J.A. 42. Assuming, as the Agencies do, see J.A. 41, that each policyholder has only one

dependent, the data the Agencies’ have relied on suggests that those 209 employers employed on

average 7,000 more people in 2017 than they did in 2015. That absurdity reveals the irrationality

of the Agencies’ assumption, and they fail to provide any explanation—let alone a reasoned

one—for this significant shift.

       Third, the Agencies assume without any basis that the majority of people currently

working for an accommodated employer will not lose contraceptive coverage. They speculate

that 100 of the 209 entities using the accommodation will continue to do so in spite of the new

exemptions, and that these 100 employers employ 75% of all people covered by accommodated

plans. J.A. 41–42. Both assumptions are premised on religious hospitals continuing to use the

Accommodation instead of the exemption. J.A. 42. For that assumption, the Agencies explain



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only that, when the Accommodation was the only option, some religious hospitals stated they did

not oppose using it. J.A. 41. But the Agencies point to no employer who commented or

otherwise committed to continue using the Accommodation once the exemption becomes

available. Given how the Agencies view the religious liberty interests at stake, there is no reason

for them to discount that many employers that used the Accommodation will opt instead for the

exemption, which would impact at least 256,025 women.10

       Finally, even after deflating the number of women who may affected in those three ways,

the Agencies cut the estimated maximum of women that the Religious Rule would affect by two-

thirds. To calculate the maximum number of women the rule will affect, the Agencies first

marched through sourced statistics to estimate that 379,000 women of childbearing age who use

contraception work for an employer that: (1) is eligible for the Religious Rule’s exemption, (2)

may actually have a religious objection to arranging for contraceptive care, (3) did not

voluntarily cover contraception before the Guidelines guaranteed that coverage, (4) does not use

a self-insured church plan, and (5) is not already exempt under the Church Exemption. J.A. 43–

45. For the third condition—whether the employer covered contraception before that coverage

was required—the Agencies relied on survey data in which 6% of respondents did not provide

contraceptive coverage before the Guidelines and 31% of respondents were unsure of their past

practices. J.A. 44. The Agencies used the 6% figure for its calculations—leading to a

significantly lower estimate of effected women—because, the Agencies reasoned, a respondent

that was unsure whether it covered contraception before the Guidelines was unlikely to have a




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         That figure reflects that of the 2,907,000 people covered under accommodated
insurance plans, 20.2% of them are women of childbearing age, of which 43.6% use
contraceptive covered under the Guidelines. J.A. 46 & n.116.

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sincere religious objection to contraception, and thus unlikely to make use of the Religious

Rule’s exemption. J.A. 44 n.103.

       After determining that 379,000 women work for an employer reasonably likely to use the

exemption, the Agencies then reduced the estimate by two-thirds. J.A. 45. The Agencies

assumed that many of the employers that had not provided contraceptive coverage before the

Women’s Health Amendment, but had done so since, would continue to provide that coverage.

Id. That conclusion, in turn, reflected speculation that, of the employers that had not covered

contraception before the Guidelines, most failed to do so for reasons other than religious

objections to contraception. J.A. 45–46. But the Agencies already baked that assumption into

their estimates by using 6% for the rate of employers that had not provided contraception before

the Guidelines precisely because that low number captured only the employers “likely to have

omitted such coverage on the basis of religious beliefs.” J.A. 44 n.103. Thus, the Agencies twice

used the same fact to discount how consequential the Religious Rule will be.

       For the Moral Rule, the Agencies entirely neglected to conduct this analysis, apparently

assuming (without saying so) that no employer pre-ACA declined to offer contraceptive

coverage for moral reasons. J.A. 92.

       In total, the Agencies’ assumptions, omissions, and arbitrary speculations render their

economic assessment of the Rules arbitrary and capricious.

 II.   The Religious Rule Violates the Establishment Clause

       The Establishment Clause of the First Amendment provides that “Congress shall make no

law respecting an establishment of religion.” U.S. Const. amend. I. When the government acts to

accommodate religion, as it has here, the Establishment Clause operates as ceiling on how far the

government may go. First, the government may not pass the threshold at which “accommodation

may devolve into ‘an unlawful fostering of religion.’” Corp. of Presiding Bishop of Church of
                                                33
Jesus Christ of Latter-day Saints v. Amos, 483 U.S. 327, 334–35 (1987) (quoting Hobbie v.

Unemployment Appeals Comm’n of Fla., 480 U.S. 136, 145 (1987)). Second, because “[t]he First

Amendment . . . gives no one the right to insist that in pursuit of their own interests others must

conform their conduct to his own religious necessities,” Estate of Thornton v. Caldor, Inc., 472

U.S. 703, 710 (1985), any accommodation of religious interests “must be measured so that it

does not override other significant interests,” Cutter v. Wilkinson, 544 U.S. 709, 722 (2005).

Adhering to these reasonable limits is what saves government’s accommodation of religious

interests from being constitutionally infirm. For example, the Court rejected an Establishment

Clause challenge to the Religious Land Use and Institutionalized Persons Act (RLUIPA), a

statute that operates much like RFRA, because “applying RLUIPA, courts must take adequate

account of the burdens a requested accommodation may impose on nonbeneficiaries.” Cutter,

544 U.S. at 720; see also. Hobby Lobby, 573 U.S. at 729 n. 30.

       The Supreme Court’s decision in Caldor most instructively displays these principles.

There, a department store challenged a Connecticut statute that provided all employees with the

right not to work on their chosen Sabbath day. 472 U.S. at 708. The Supreme Court held that the

Connecticut statute, by providing “Sabbath observers with an absolute and unqualified right not

to work on whatever day they designate as their Sabbath” violates the Establishment Clause. Id.

at 709. The Court noted that the State impermissibly “commands that Sabbath religious concerns

automatically control over all secular interests at the workplace; the statute takes no account of

the convenience or interests of the employer or those of other employees who do not observe a

Sabbath.” Id. Plus, the statute provided no exception for “when the employer’s compliance

would require the imposition of significant burdens on other employees required to work in place




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of the Sabbath observers,” and the statute “allows for no consideration as to whether the

employer has made reasonable accommodation proposals.” Id. at 710.

       Just the same, the Religious Rule permits any employer who objects to providing

contraceptive to interfere with their employees’ access to contraception, granting an absolute

right to inflict concrete harms to another. That is because the exemption results in the loss of

contraceptive coverage without cost sharing. By the Agencies’ tally, the new exemption will cost

up to “126,400 women of childbearing age who use contraceptives” coverage for contraception

without cost sharing. J.A. 15. And the employers’ unyielding right to strip their employees of

access to contraceptive coverage fails to account for the hardships imposed on the non-believing

employees who lose this vital health care coverage. As in Caldor, the religious beliefs of one

party prevail, without any consideration of the severity of that resulting harm. See also Cutter,

544 U.S. at 710 (“An accommodation must be measured so that it does not override other

significant interests.”); Texas Monthly, Inc. v. Bullock, 489 U.S. 1, 18 n.8 (1989) (plurality op.)

(religious accommodations are permissible when they do not “impose substantial burdens on

non-beneficiaries”).

       The Agencies reject that the Religious Rule allows employers to inflict any harm. By

their telling, the Religious Rule only relieves a governmental burden that would not exist but for

the Guidelines’ inclusion of contraception. J.A. 14. That women receive contraceptive coverage

because of the Guidelines rather than some other source of law is immaterial to the harm that the

Religious Rule permits. The Guidelines, both before and after the Religious Rule, impose a

general requirement that group insurance plans cover contraception. Because of the Religious

Rule, and the Religious Rule alone, up to “126,400 women of childbearing age who use




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contraceptives” will no longer have access to medical coverage that the law otherwise entitles

them to receive without cost sharing.

        Worse, the Agencies have at their disposal an alternative to the exemption that, for many

of the employers that may now claim the exemption, fully resolves any cognizable burden under

RFRA while still allowing access to contraception without cost sharing. Although the Agencies

insist that the availability of the Accommodation is irrelevant for purposes of evaluating the

Religious Rule under RFRA, J.A. 10, the availability of the Accommodation certainly matters

for evaluating the Religious Rule under the Establishment Clause. Extending the exemption to

entities for which the Accommodation would have resolved any conflict with RFRA confers a

gratuitous religious benefit for which there is no explanation other than preferring religious

interests.

        At bottom, then, the Religious Rule impermissibly favors religious employers over their

employees who do not share their religious beliefs, and it does so in a manner that goes well

beyond mere accommodation. The Religious Rule grants an unqualified right to religious

employers that imposes significant hardships on their employees in violation of the

Establishment Clause.

III.    The Rules Create an Unreasonable Barrier to the Availability of Appropriate
        Medical Care in Violation of Section 1554 of the ACA

        Section 1554 of the ACA prohibits the Secretary of HHS from “promulgat[ing] any

regulation that … creates any unreasonable barriers to the ability of individuals to obtain

appropriate medical care.” 42 U.S.C. § 18114(1). By allowing employers to deny women access

to contraceptive care, the Rules do exactly that.

        Contraception is, for many women, “appropriate medical care.” See supra Background

Part I. Indeed, according to HRSA, contraception is among the preventive services “necessary


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for women’s health and well-being,” See J.A. 312-A. And since the Rules allow employers to

deny women coverage for contraception, they “create[] . . . barriers” for women who wish to

access such care. That some women denied coverage may be able to surmount these barriers and

obtain contraception elsewhere (often at a significantly higher cost) does not change that by

allowing employers to deny coverage, the Rules make it more difficult for women to access the

care they need.

       Those barriers are “unreasonable” as well. In many cases, if not all, the exemption is not

needed to resolve the religious or moral interests it ostensibly addresses. Nor did the Agencies

try to find a way to accommodate the concerns of religious objectors “while at the same time

ensuring that women covered by petitioners’ health plans ‘receive full and equal health coverage,

including contraceptive coverage.’” Zubik, 136 S. Ct. at 1560–61. The unreasonableness of the

Rules is compounded by the Agencies’ failure to address significant concerns raised by

commenters, and the Agencies’ inexplicable about-face on fundamental questions such as the

safety and efficacy of contraception. See supra Parts I.C & I.E.

       As a result, the Rules create “unreasonable barriers to the ability of individuals to obtain

appropriate medical care,” and are therefore unlawful under the ACA and the APA.

IV.    The Rules Violate the Equal Protection Provisions of the Fifth Amendment

       The Rules also violate the Constitution’s guarantee of equal protection, a guarantee

applied to the Federal Government through the Fifth Amendment. Under the Fifth Amendment,

classifications based on gender are subject to heightened scrutiny. See Sessions v. Morales-

Santana, 137 S. Ct. 1678, 1689–90 (2017); see also Abdul-Akbar v. McKelvie, 239 F.3d 307, 317

(3d Cir. 2001) (“Fifth Amendment equal protection claims are examined under the same

principles that apply to such claims under the Fourteenth Amendment.”). Successful defense of

such a classification “requires an ‘exceedingly persuasive justification’”—the government must
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demonstrate “at least that the challenged classification serves important governmental objectives

and that the discriminatory means employed are substantially related to the achievement of those

objectives.” Morales-Santana, 137 S. Ct. at 1690 (citations and internal quotation marked

omitted). This is a demanding burden. United States v. Virginia, 518 U.S. 515, 533 (1996).

       The Rules at issue here target women for uniquely unfavorable treatment. Although the

ACA requires coverage for many different types of preventive services, the Rules single out care

for women’s reproductive health for lesser protection. Doing so falls in line with the Executive

Order that inspired the Rules. Although that Executive Order purported to be concerned with

conscience issues generally, the only regulatory provision explicitly mentioned in the Executive

Order, and then in the Final Rules, is the Women’s Health Amendment.

       Because the Rules discriminate, the Agencies must have an “exceedingly persuasive

justification” for allowing conscience protections to categorically deprive women of access to an

essential healthcare benefit without cost sharing, while leaving undisturbed all other essential

healthcare benefits to which an employer could have a religious or moral objection. That means

the Agencies must answer why the Rules’ discriminatory focus is justified even though women’s

health, education, and livelihoods depend on the ability to control reproductive choices; without

that autonomy, women cannot participate as full and equal members of society. Virginia, 518

U.S. at 532 (women cannot be denied an “equal opportunity to aspire, achieve, participate in and

contribute to society”); Int’l Union v. Johnson Controls, 499 U.S. 187, 211 (1991) (a woman’s

reproductive and economic roles are her own choice, not that of the government or her

employer).

       The Rules’ treatment of women does not meet the “exceedingly persuasive justification”

because the Agencies did not consider alternatives to allowing employers interference with



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women’s access to contraceptive coverage. And the protection afforded for an employer’s moral

objections to the provision of contraceptive services cannot provide an “exceedingly persuasive

justification” for overriding Congress’ decision to provide essential healthcare benefits to

women. The Moral Rule does not define what moral objections qualify, leaving open the

possibility that an employer claims the exemption based on views that are themselves inherently

and intentionally discriminatory. The Agencies cannot justify elevating all the undefined views

that may qualify for the moral exemption over the health and societal benefits that contraception

confer to women.

       Moreover, even if this Court were to consider “conscience protections” to be an

important governmental objective in the provision of healthcare generally, the Government

cannot demonstrate that the discriminatory means employed here are “substantially related to the

achievement of those objectives.” The Government has failed to provide any justification for

targeting only women’s health care when purportedly protecting religious and moral conscience

decisions. As the Seventh Circuit has noted:

       [C]ontraceptive care is by no means the sole form of health care that implicates
       religious concerns. To cite a few examples: artificial insemination and other
       reproductive technologies; genetic screening, counseling, and gene therapy;
       preventative and remedial treatment for sexually-transmitted diseases; sex
       reassignment; vaccination; organ transplantation from deceased donors; blood
       transfusions; stem cell therapies; end-of-life care, including the initiation and
       termination of life support; and, for some religions, virtually all conventional
       medical treatments.

Grote v. Sebelius, 708 F.3d 850, 866 (7th Cir. 2013). While the Agencies’ answer may be that

some lines must be drawn because an insurance system in which each individual or employer can

demand an insurance policy that conforms to his or her religious beliefs is unworkable, that

limitation cannot justify the Government’s decision to allow employers to interfere with essential

healthcare benefits for women only.

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       In sum, the Women’s Health Amendment was intended to ensure that women receive

essential healthcare coverage on an equal basis with men. The Agencies violated women’s equal

protection rights when they targeted the essential healthcare benefits that the ACA afforded

women while leaving all other essential health benefits intact.

 V.    The Rules Violate Section 1557 of the ACA and Title VII of the Civil Rights Act

       For similar reasons, the Rules violate two federal statutes that prohibit discrimination on

the basis of sex: Section 1557 of the ACA and Title VII of the Civil Rights Act.

       Section 1557 prohibits “discrimination under[] any health program or activity, any part of

which is receiving Federal financial assistance,” on several grounds, including “the ground

prohibited . . . under title IX of the Education Amendments of 1972.” 42 U.S.C. § 18116(a). Title

IX prohibits discrimination “on the basis of sex” in education, 20 U.S.C. § 1681, and its

implementing regulations make clear that it prohibits discrimination on the basis of pregnancy.

See 34 C.F.R. § 106.40(b)(1) (“A recipient shall not discriminate against any student … on the

basis of such student’s pregnancy, childbirth, false pregnancy, termination of pregnancy or

recovery therefrom.”).

       Similarly, Title VII prohibits employers from discriminating on the basis of sex. 42

U.S.C. § 2000e-2(a). In 1978, Congress enacted the Pregnancy Discrimination Act (PDA), which

amended Title VII to clarify that discrimination because of “pregnancy, childbirth, or related

medical conditions” is discrimination on the basis of sex. See 42 U.S.C. § 2000e(k). The PDA

corrected the Supreme Court’s earlier, erroneous interpretation of Title VII in General Electric

Co. v. Gilbert, 429 U.S. 125 (1976), and expressly embraced the logic of the dissenters in that

case, see H. Rep. No. 95-948, at 2 (1978) (“It is the Committee’s view that the dissenting justices

correctly interpreted the [Civil Rights] Act.”); see also Newport News Shipbuilding and Dry

Dock Co. v. EEOC, 462 U.S. 669, 676–82 & n.17 (1983).
                                                40
       General Electric involved a challenge to a company rule that provided employees with

disability benefits but specifically excluded disabilities related to pregnancy. See 429 U.S. at

125. In dissent, Justice Stevens observed, “[b]y definition, such a rule discriminates on account

of sex; for it is the capacity to become pregnant which primarily differentiates the female from

the male.” Id. at 161–62. In passing the PDA, Congress embraced that discrimination on the

basis of sex-based characteristics is discrimination on the basis of sex. See H. Rep. No. 95-948,

at 2 (quoting Stevens dissent with approval); see also Newport News, 462 U.S. at 676

(“Accordingly, we shall consider whether Congress, by enacting the Pregnancy Discrimination

Act, not only overturned the specific holding in General Electric v. Gilbert, but also rejected the

test of discrimination employed by the Court in that case. We believe it did.”).

       Relying on this same principle, the Supreme Court subsequently struck down, in U.A.W.

v. Johnson Controls, Inc., an employer’s policy that excluded women, except those determined

to be infertile, from jobs involving exposure to lead. See 499 U.S. 187, 199 (1991). By targeting

“women with childbearing capacity,” the policy violated Title VII’s prohibition on sex

discrimination. See id. at 200. The Court noted that its conclusion was “bolstered by” the PDA,

finding that by using “the words ‘capable of bearing children’ … as the criterion for exclusion,

[the employer] explicitly classifies on the basis of potential for pregnancy.” Id. at 199. And the

Court concluded, “[u]nder the PDA, such a classification must be regarded, for Title VII

purposes, in the same light as explicit sex discrimination.” Id.

       The same logic prohibits employer from treating contraception differently than analogous

categories of health care. For example, if an employer provides prescription drug coverage to its

employers, it cannot exclude contraceptive prescriptions without running afoul of Title VII. See

Erickson v. Bartell Drug Co., 141 F. Supp. 2d 1266, 1269 (W.D. Wash. 2001) (“In light of the



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fact that prescription contraceptives are used only by women, [defendant’s] choice to exclude

that particular benefit from its generally applicable benefit plan is discriminatory.”). But see In re

Union Pac. R.R. Employment Practices Litigation, 479 F.3d 936, 942 (8th Cir. 2007). As the

Erickson opinion recognized, “when an employer decides to offer a prescription plan covering

everything except a few specifically excluded drugs and devices, it has a legal obligation to make

sure that the resulting plan does not discriminate based on sex-based characteristics and that it

provides equally comprehensive coverage for both sexes.” See Erickson, 141 F. Supp. 2d. at

1272. Thus, treating contraceptive benefits differently than other preventive services is unlawful

because it discriminates on the basis of “sex-based characteristics,” see id., and because it

violates Congress’s expressed intent that the PDA’s protections should “extend[] to the whole

range of matters concerning the childbearing process.” See H. Rep. No. 95-948, at 5.

       Despite these statutes, the Rules authorize differential treatment. An employer that

refuses to provide contraceptive care for women will still have an obligation to provide other

preventive care, see 42 U.S.C. § 300gg-13(a)(1); id. § 18022(b)(1)(F), and will similarly have an

obligation to provide prescription benefits, see id. § 18022(b)(1)(I). Section 1557 and Title VII

each prohibit such discrimination, and the Rules, by authorizing that discrimination anyway, are

unlawful under the APA. See 5 U.S.C. § 706(2)(A); see also Farrington v. Johnson, 206 F. Supp.

3d 634, 635, 644 (D.D.C. 2016) (refusing to dismiss APA claim arising under Title VII); Pima

Cty. Cmty. Coll. Dist. v. EEOC, No. 75-210, 1976 WL 548, at *2 (D. Ariz. 1976) (observing that

Title VII is “certainly a relevant statute within the contemplation” of the APA). And even if

differential treatment for contraception was not discrimination because of a sex-based

characteristic, contraceptive use is part of “the whole range of matters concerning the




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childbearing process.” Either way, differential treatment of contraceptive care violates federal

anti-discrimination statutes.

       The Rules tried to get ahead of this problem, insisting that any way in which the Rules

specifically disadvantage women is a product of the Women’s Health Amendment, which

separates women’s health for differential treatment. J.A. 16, 71. But that argument does not

work. The Women’s Health Amendment is just one part of a package of preventive services that

Congress has required group health plans cover without cost sharing. Under the ACA, group

insurers must cover all preventive services recommended for men and women alike. 42 U.S.C.

§ 300gg-13(a)(1)–(4). The Rules, however, apply to a class of preventive services that only

women use. Therefore, by authorizing employers and other plan sponsors to exclude

contraception, the Rules authorize discrimination on the basis of sex, and are therefore unlawful

under the APA.

VI.    The Rules Must be Vacated

       A reviewing court shall “hold unlawful and set aside” agency action that is “contrary to

law” or otherwise violates the requirements of the APA. 5 U.S.C. § 706(2). This section requires

that the Rules here be vacated; the Supreme Court said as much last term. See Dep’t of

Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1916 n.7 (2020)

(explaining Court had no need to “examine the propriety of the nationwide scope of the

injunctions” against DACA recession memo because Court was affirming a separate order

vacating the same memo); see also Pennsylvania, 930 F.3d at, 575 , rev’d and remanded on

other grounds.

       Although some courts have recognized circumstances under which rules that violate the

APA should be remanded without vacatur, “neither the Supreme Court nor the Third Circuit has

held that the APA permits a court to remand an invalid regulation without first vacating the
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regulation.” Comite de Apoyo a los Trabajadores Agricolas v. Solis, 933 F. Supp. 2d 700, 714

(E.D. Pa. 2013); see also Council Tree Commc’ns, Inc. v. F.C.C., 619 F.3d 235, 258 n.13 (3d

Cir. 2010) (“express[ing] no view as to whether [the court is] authorized to order” remand

without vacatur).11 Rather, “Section 706(2)’s seemingly mandatory language” requires vacatur if

agency action violates the requirements of that section. Comite de Apoyo, 933 F. Supp. 2d at 714.

       Even if this court were authorized to consider other remedies upon a finding of an APA

violation, vacatur is appropriate here. The deficiencies of the Rules are “serious,” and could not

be easily corrected on remand. See Council Tree, 619 F.3d at 258 (relying on “seriousness” of

APA violations in concluding “even assuming we have the authority to remand the matter

without vacatur, we would decline to do so here.”). This Court has on two previous occasions

concluded that the harms from the Rules were serious enough to warrant the “extraordinary

remedy,” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008), of a preliminary

injunction. See 351 F. Supp. 3d at 827–30; 281 F. Supp. 3d at 581–85. Those findings remain

valid today. Cf. City of Philadelphia v. Sessions, 309 F. Supp. 3d 289, 340 (E.D. Pa. 2018), aff’d

in part, vacated in part sub nom. City of Philadelphia v. Attorney Gen. of United States of Am.,

916 F.3d 276 (3d Cir. 2019) (“The Court’s finding of irreparable injury from the preliminary

injunction stage remains equally applicable at the permanent injunction stage.”) (cleaned up).




       11
         Council Tree did note that the agency defendant had “cite[d] to a case in which [the
Third Circuit] remanded without vacatur, albeit without commenting on the issue.” 619 F.3d
235, 258 n.13 (citing Am. Iron & Steel Inst. v. EPA, 568 F.2d 284, 310 (3d Cir. 1977)).

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                                       CONCLUSION

       For the reasons set forth above, the States’ Motion for Summary Judgment should be

granted and the Rules vacated.



September 29, 2020                            Respectfully submitted,

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